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F. #2022R00347 * SEP 32 2004 NY,
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UNITED STATES DISTRICT COURT LONG ISLAN
EASTERN DISTRICT OF NEW YORK © OFFiCg
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UNITED STATES OF AMERICA NOTICE OF MOTION
- against - Criminal Docket No. -

CARMINE some, __ C R 2 4 3 66
CHOUDHURY, J.

LINDSAY, M.J.

PLEASE TAKE NOTICE that the undersigned will move this Court, before a
judge to be assigned, for leave to file an information upon the defendant CARMINE
AGNELLO’s waiver of indictment pursuant to Rule 7(b) of the Federal Rules of Criminal
Procedure.

Dated: Central Islip, New York
September 12, 2024

BREON PEACE

United States Attorney

Eastern District of New York
Attorney for Plaintiff

610 Federal Plaza

Central Islip, New York 11722

By: _/s/ Bradley T. King
Bradley T. King
Assistant United States Attorney
(631) 715-7875

Cc: — Clerk of the Court
James Frocarro
